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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                   ALBANY DIVISION

 MATTHEW WHITEST, et al,

                Plaintiff,


        v.

 CRISP COUNTY SCHOOL                                                  CASE NO.
 DISTRICT, et al.,                                                1:17-cv-109 (LAG)

                  Defendants.


 DEFENDANT CRISP COUNTY SCHOOL DISTRICT’S BRIEF IN OPPOSITION TO
   PLAINTIFF’S MOTION TO REOPEN CASE AND ENTER FINAL JUDGMENT



       This Court should deny Plaintiff’s request to reopen the case to enter final judgment on

the order granting summary judgment and this Court’s final order approving the legislative

remedy. The sole reason offered by Plaintiff to reopen the case is the argument that dismissal of

the order “would lift the permanent injunction against Defendant.” See, Pl. Motion, Doc. No.

184, at 3. Plaintiff contends this Court should enter final judgment because it “retain[s]

jurisdiction to enforce the provisions of this Order and for such further relief as may be

appropriate.” 04/28/2022 Final Order, Doc. No. 160, at 12. However, there is nothing further to

enforce, nothing to enjoin and no further relief (attorneys fees having been settled) to which

Plaintiff is entitled. For the reasons set forth below, this Court should deny Plaintiff’s Motion.

Doc. No. 184.

       In approving the legislative remedy proposed by the School District, this Court was

thorough in evaluating the School District’s remedial plan and conclusively found that HB 1430


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cured the Section 2 violations. HB 1430 “eliminate[s] the at-large election scheme for all six

Board members and establish[es] a five-member Board with four single-member districts and

one at-large district.” Id. at 11. HB 1430 “is an appropriate remedy for the existing Section 2

violations and provides Black voters in Crisp County an equal opportunity to participate and to

elect their candidates of choice.…” Id. In so approving, this Court found there was nothing

whatsoever that “suggests that HB 1430 violates the Constitution or the Voting Rights Act.” Id.

That decision has now been upheld by the Eleventh Circuit Court of Appeals. See, Opinion and

Order, Doc. No. 181.

       This Court’s final order, in pertinent part, provides:

       Having previously concluded that the existing at-large election method for the
       election of Crisp County Board of Education members violates Section 2 of the
       Voting Rights Act, the Court hereby ENJOINS the Crisp County School District
       and Board of Elections and Registration from conducting any future Crisp County
       Board of Education elections under that unlawful plan. The remedial plan
       proposed by the School District and enacted by the Georgia General Assembly,
       HB 1430, is ADOPTED as the interim remedial plan for the 2022 primary and
       general elections for the Crisp County Board of Education.

                                               ****

       This remedial plan shall remain in effect until the 1956 local amendment to the
       Georgia Constitution is rescinded by the voters of Crisp County and HB 1430
       becomes fully effective. The Crisp County School District and Board of Elections
       and Registration are ORDERED to implement the remedial plan described in HB
       1430 promptly and in accordance with the Constitution and laws of the United
       States.

Final Order at 11-12 (emphasis in original)

       First, “HB 1430 was passed by the Georgia General Assembly and signed into law by the

Governor of Georgia on March 22, 2022.” Id. at 3. Next, the remedial plan set out in the Order

has been implemented by the Defendants. Lastly, the voters of Crisp County have voted to

rescind the offending 1956 local constitutional amendment so that it no longer exists under state

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law. See, 2023 Ga. Laws 387A (Yes: 2,551; No: 907). Accordingly, HB 1430 is fully effective.

While this Court has “jurisdiction to enforce the provisions of [its] Order…,” it is abundantly

clear that there are no provisions to enforce precisely because the passage of HB 1430,

implementation of the remedial plan and the rescission of the 1956 local constitutional

amendment demonstrate full and complete compliance with this Court’s Final Order.

          Plaintiffs claim that final judgment on the order is necessary because, “in light of this

history, an order dismissing this case would be inappropriate, as it would lift the Court’s

permanent injunction against the defendants.” Pl. Motion, Doc. No. 184, at 3. Under the Order,

Defendants were enjoined from conducting board of education elections under the “unlawful

plan” this Court found in violation of Section 2 of the Voting Rights Act. This Court’s Final

Order and the subsequent vote of the people of Crisp County resulted in the permanent

elimination of the unlawful plan. Accordingly, a “permanent” injunction for that purpose is not

needed; rather, the injunction is properly read as enjoining elections under the “unlawful plan”

until that unlawful plan is eliminated by the passage of HB 1430 and the rescission of the 1956

local constitutional amendment. As there is no longer any unlawful plan, there is nothing to

enjoin.

          To the contrary, the plan implemented by the Defendants, as ordered by this Court and

agreed to by the moving Plaintiffs, complies with the Voting Rights Act. Thus, the “history” to

which Plaintiffs refer in their Motion is that of Defendants’ conceding and accepting liability,

offering a legislative remedy that cures the Voting Rights Act violation and implementing a

remedial plan in full and complete compliance with the Voting Rights Act and the Constitution.

          Here, then, it is clear that the relief Plaintiffs seek is “further relief” by way of an order in

perpetuity, enjoining the Defendants from future unlawful conduct, i.e., prospective injunctive

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relief. But awards of prospective injunctions are limited and disfavored in the Eleventh Circuit.

“[T]o have standing to obtain forward-looking relief, a plaintiff must show a sufficient likelihood

that he will be affected by the allegedly unlawful conduct in the future.” Wooden v. Bd. of

Regents of Univ. Sys. of Ga., 247 F.3d 1262, 1283 (11th Cir. 2001).

       Because injunctions regulate future conduct, a party has standing to seek
       injunctive relief only if the party alleges, and ultimately proves, a real and
       immediate—as opposed to a merely conjectural or hypothetical—threat of future
       injury. Logically, “a prospective remedy will provide no relief for an injury that
       is, and likely will remain, entirely in the past.” Although “past wrongs are
       evidence bearing on whether there is a real and immediate threat of repeated
       injury,” ... “[p]ast exposure to illegal conduct does not in itself show a present
       case or controversy regarding injunctive relief ... if unaccompanied by any
       continuing, present adverse effects.”
Id. at 1284, quoting Church v. City of Huntsville, 30 F.3d 1332, 1342 (11th Cir. 1994). The

Eleventh Circuit “has often emphasized that to obtain prospective injunctive relief a plaintiff

must show that he faces a substantial likelihood of injury in the future.” Id.

       Plaintiffs cannot meet this exacting standard. As stated above, HB 1430 was signed into

law and the local constitutional amendment, which allowed the unlawful election plan, has been

rescinded by Crisp County voters. Accordingly, Defendants cannot conduct an election under

the plan this Court held violated the Voting Rights Act. “In light of this history,” there is no

basis for the relief Plaintiffs seek, i.e., entry of judgment of an order that includes a prospective

injunction.

       Accordingly, this Court should deny Plaintiff’s motion to reopen the case to enter final

judgment and, instead, issue an order, under Rule 41, dismissing the case.

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     This 17th day of May, 2024.


                                   PEREIRA, KIRBY, KINSINGER & NGUYEN, LLP

                                   /s/ Phillip H. Hartley
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                                 CERTIFICATE OF SERVICE
        The undersigned attorney does hereby certify that he has on this 17th day of May 2024
date electronically filed the DEFENDANT CRISP COUNTY SCHOOL DISTRIC’TS BRIEF IN
OPPOSITION TO THE WHITEST PLAINTIFFS’ MOTION TO REOPEN CASE AND
ENTER FINAL JUDGMENT, which will automatically send e-mail notification of such filing to
the attorney(s) of record:
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and to the following Pro-Se Plaintiff registered to receive electronic filing notices for this case:
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